4:23-cr-03028-SMB-JMD      Doc # 67    Filed: 11/28/23   Page 1 of 2 - Page ID # 213




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                   Plaintiffs,                              4:23CR3028

      vs.
                                                              ORDER
LATJOR GONY,

                   Defendants.



      Plaintiff has moved to continue Defendant’s change of plea hearing. (Filing
No. 66). As explained by counsel, the parties need additional time to engage in
plea discussions The motion to continue is unopposed. Based on the
representations of counsel, the court finds the motion should be granted.
Accordingly,

      IT IS ORDERED:

      1)    Plaintiff’s motion to continue, (Filing No. 66), is granted.

      2)    Defendant's plea hearing will be held before the undersigned
            magistrate judge on January 9, 2024 at 10:30 a.m.. Defendant is
            ordered to appear at this hearing.

      3)    For the reasons stated by counsel, the Court finds that the ends of
            justice served by continuing Defendant's plea hearing outweigh the
            best interest of Defendant and the public in a speedy trial.
            Accordingly, the time between today's date and the district court
            judge's acceptance or rejection of the anticipated plea of guilty shall
            be excluded for speedy trial calculation purposes. 18 U.S.C. §
            3161(h)(7). Failing to timely object to this order as provided under this
            court’s local rules will be deemed a waiver of any right to later claim
            the time should not have been excluded under the Speedy Trial Act.

      Dated this 28th day of November, 2023.

                                             BY THE COURT:

                                             s/ Cheryl R. Zwart
4:23-cr-03028-SMB-JMD   Doc # 67   Filed: 11/28/23   Page 2 of 2 - Page ID # 214




                                         United States Magistrate Judge
